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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

              MOTION TO DISMISS COUNT TWO: OBSTRUCTION

       In ECF No. 46, the government indicted me with 18 U.S.C. Section 1512(c)(2), which is

titled Obstruction of an Official Proceeding. I move to adopt the motion to dismiss that was filed

in the case of United States v. Fischer, 21-cr-00234, Document 54, which has an appeal now

pending before the Supreme Court that is likely to be resolved within the next two months.

Additional Factors

       I had absolutely no intent to obstruct any official proceeding, but the government

wrongfully charged me with this overly vague and unconstitutional statute and then attempted to

get me to lie and plead guilty to it. I am, of course, totally innocent and still good looking!

       Respectfully submitted to the Court,

                                                       By: William Pope

                                                           /s/


                                                       William Pope
                                                       Pro Se Officer of the Court
                                                       Topeka, Kansas
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Figure 1: BWAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHA!




                                        Certificate of Service
    I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                                  /s/
                                  William Alexander Pope, Pro Se
